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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Norfolk Division

   SECURITY FIRST INNOVATIONS,
   LLC,

         Plaintiff,

                        v.                                Case No. 2:23-cv-97

   GOOGLE LLC,

         Defendant.


                         MEMORANDUM OPINION & ORDER

         Before the Court are two motions: Plaintiff Security First Innovations, LLC’s

  (“SFI’s”) Motion for Leave to Amend its Complaint (ECF No. 73) and Defendant

  Google LLC’s (“Google’s”) Motion to Dismiss the Complaint (ECF No. 37). In the

  interests of efficiency and judicial economy, the Court will address both motions in

  this Memorandum Opinion and Order. The Court has fully considered the arguments

  set forth in the parties’ briefs and has determined it is not necessary to hold a hearing

  on the motions. For the reasons stated below, SFI’s motion to amend is GRANTED

  and Google’s motion to dismiss is DENIED. 1



  1 On October 25, 2023, the parties filed a stipulation indicating their agreement that

  “[w]hether the Court grants or denies SFI’s Motion for Leave, Google does not need
  to re-file or re-brief its Motion to Dismiss because SFI’s Proposed Amended Complaint
  does not affect the arguments made in support of or in opposition to Google’s Motion
  to Dismiss.” ECF No. 122 at 2. The parties further agreed that the motion to dismiss
  “shall apply to both the Proposed Amended Complaint and the Complaint, and can
  be decided by the Court as currently briefed subject to the parties’ request for oral
  argument.” Id. Accordingly, because the Court grants SFI’s motion for leave to
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I.          BACKGROUND

            A.     The Asserted Patents

            The four asserted patents are U.S. Patent Nos. 10,452,854 (“the ’854 patent”),

     11,068,609 (“the ’609 patent”), 11,178,116 (“the ’116 patent”), and 9,338,140 (“the ’140

     patent”). The ’609 patent is a continuation of the ’854 patent, and the ’116 patent is

     a continuation of a continuation of the ’140 patent.

            SFI asserts claim 1 of each asserted patent against Google. The asserted claims

     are all fairly similar. 2 At a high level, the claims are directed to a method for securing

     data that involves splitting data, encrypting the data with encryption keys, and

     storing the data and the encryption keys in one or more places. Claim 1 of the ’609

     patent, which the parties focus on in the briefing, is below: 3

                   A method for securing data, the method comprising:



     amend, the Court construes Google’s motion to dismiss to be directed to the amended
     complaint.

     2 This statement should not be taken as a finding of representativeness. There are

     differences between the claims that are relevant to the Court’s analysis of the § 101
     issues raised in Google’s motion, as discussed below.

     3 SFI argues in its opposition that Google has largely ignored all but the ’609 patent

     in its motion to dismiss, such that the Court should treat the motion as only being
     directed to the ’609 patent. ECF No. 42 at 35. That is not correct. Google addresses
     the differences between the asserted claims several times in its motion. See ECF No.
     38 at 16–17, 22, 24–25, 28–29, 31. In any event, “[a]ddressing each asserted claim in
     a § 101 analysis is unnecessary when the claims are ‘substantially similar and linked
     to the same abstract idea.’” Pers. Beasties Grp. LLC v. Nike, Inc., 341 F. Supp. 3d 382,
     386 (S.D.N.Y. 2018) (quoting Content Extraction & Transmission LLC v. Wells Fargo
     Bank, Nat. Ass’n, 776 F.3d 1343, 1348 (Fed. Cir. 2014)). In this case, while there are
     some differences between the claims that play a role in some parts of the Court’s § 101
     analysis, the claims can largely be treated together because they are substantially
     similar.
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               executing code by a processor to perform:

                     receiving a first key from a storage system;

                     generating a plurality of data chunks based on a
                     data set, wherein each data chunk of the plurality of
                     data chunks comprises less than an entirety of data
                     of the data set, and wherein the data set can be
                     reconstructed using at least a minimum number of
                     the plurality of chunks;

                     encrypting each respective data chunk of the
                     plurality of data chunks with a respective second
                     key, wherein each of the respective second keys are
                     distinct from each other;

                     performing a cryptographic operation based on the
                     first key to further secure the plurality of data
                     chunks; and

                     storing, in a memory coupled to the processor, at
                     least one data chunk of the plurality of data chunks
                     with data indicative of at least one of the distinct
                     encryption keys on at least one storage device.

  ’609 patent, 83:11–30. Claim 1 of the ’854 patent, which is the parent of the ’609

  patent, claims the following:

               A method for securely storing a data set, the method
               comprising:

               receiving an external key from an external storage system,

               generating a plurality of data chunks based on the data set,

                     such that the data set can be reconstructed using at
                     least a minimum number of the plurality of data
                     chunks, wherein generating the data chunks
                     comprises:

                     distributing the data set into a plurality of shares,
                     wherein each of the shares comprises less than all of
                     the data set,

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                     accessing a plurality of distinct encryption keys,

                     encrypting each of the shares with a respective one
                     of the plurality of distinct encryption keys,

               performing an encryption operation based on the external
               key to further secure the plurality of data chunks; and

               storing with the plurality of data chunks data indicative of
               at least one of the distinct encryption keys on a plurality of
               different storage devices.

  ’854 patent at 83:19–36. Claim 1 of the ’140 patent claims the following:

               A secure storage network comprising:

               a plurality of physical storage devices storing thereon a
               plurality of shares being associated with at least one
               session key used to secure a dataset; and

               a secure storage system configured to:

                     present to a client device a virtual disk, the virtual
                     disk comprising a directory mapped to the plurality
                     of physical storage devices such that physical
                     locations of the shares are hidden from the client
                     device;

                     generate the plurality of shares for storage on the
                     plurality of physical storage devices by performing a
                     securing operation on the dataset received from the
                     client device and distributing the dataset in the
                     shares;

                     include with each of the plurality of shares data
                     indicative of the at least one session key used to
                     secure the dataset; and

                     reconstitute the dataset from at least a portion of the
                     plurality of shares stored on the physical storage
                     devices in response to a request from the client
                     device for information in the dataset.



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  ’140 patent, 98:2–22. Claim 1 of the ’116 patent, which is a grandchild of the ’140

  patent, claims the following:

               A method for securing a data set, the method comprising:

               distributing the data set into a plurality of data chunks,
               wherein none of the data chunks are, by themselves,
               sufficient to reconstruct the data set;

               encrypting each of the data chunks with a respective one of
               a plurality of encryption keys;

               obfuscating each of the plurality of different encryption
               keys; and

               separately storing each data chunk of the plurality of data
               chunks together with one of the plurality of obfuscated
               different encryption keys on a plurality of different storage
               devices.

  ’116 patent, 100:19–31.

        B.     Procedural History

        SFI filed the complaint in this case on March 10, 2023. ECF No. 1. The

  complaint alleged that the Google Cloud service infringes the four asserted patents.

  Google filed the instant motion to dismiss on April 28, 2023. ECF Nos. 37 (motion),

  38 (memorandum). SFI filed an opposition on May 19, 2023. ECF No. 42. Google filed

  a reply on June 1, 2023. ECF No. 43. Each party filed a notice of supplemental

  authority on September 20, 2023, ECF Nos. 99 (Google), 109 (SFI).

        SFI filed the instant motion for leave to amend the complaint on August 21,

  2023. ECF Nos. 73 (motion), 74 (memorandum). Google filed a brief in opposition on

  September 8, 2023. ECF No. 88. SFI filed a reply on September 14, 2023. ECF No.

  93. SFI filed a “Notice of Supplemental Information Regarding Google’s Knowledge

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      of the Asserted Patents” on September 20, 2023. ECF No. 101. Google filed a response

      to SFI’s notice, with leave, on October 12, 2023. ECF No. 118.

            The parties are currently engaged in discovery, and a jury trial is set for July

      9, 2024. ECF No. 54.

II.         LEGAL STANDARDS

            A.     Motions to Amend a Complaint

            Fed. R. Civ. P. 15(a) provides that a party may amend a pleading by leave of

      the court or by written consent of the adverse party, and that “[t]he court should

      freely give leave [to amend] when justice so requires.” Leave to amend “should be

      denied only when the amendment would be prejudicial to the opposing party, there

      has been bad faith on the part of the moving party, or the amendment would [be]

      futile.” Laber v. Harvey, 438 F.3d 404, 426 (4th Cir. 2006) (quotation marks and

      citation omitted). A proposed amendment is futile if the new claim would not survive

      a motion to dismiss under Fed. R. Civ. P. 12(b)(6). Davison v. Randall, 912 F.3d 666,

      690 (4th Cir. 2019).

            B.     Willful Infringement

            Under 35 U.S.C. § 284, a court may increase a damages award for patent

      infringement by “up to three times the amount found or assessed.” Section 284

      “prescribes no standards for such increase,” SRI Int’l, Inc. v. Advanced Tech. Lab’ys,

      Inc., 127 F.3d 1462, 1464 (Fed. Cir. 1997), but it has long been recognized as providing

      for “punitive or increased damages . . . in a case of willful or bad-faith infringement.”




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  Halo Elecs., Inc. v. Pulse Elecs., Inc., 579 U.S. 93, 100 (2016) (quoting Aro Mfg. Co. v.

  Convertible Top Replacement Co., 377 U.S. 476, 508 (1964)) (cleaned up).

        The Supreme Court has “eschew[ed] any rigid formula for awarding enhanced

  damages under § 284,” noting that “[d]istrict courts enjoy discretion in deciding

  whether to award enhanced damages, and in what amount.” Halo, 579 U.S. at 104.

  Enhanced damages “should generally be reserved for egregious cases typified by

  willful misconduct” that go “beyond typical infringement.” Id. at 106, 110. “The

  subjective willfulness of a patent infringer, intentional or knowing, may warrant

  enhanced damages.” Id. at 105. But “it is the circumstances that transform simple

  ‘intentional or knowing’ infringement into egregious, sanctionable behavior.” SRI

  Int’l, Inc. v. Cisco Sys., Inc., 930 F.3d 1295, 1308 (Fed. Cir. 2019) (quoting Halo, 579

  U.S. at 111 (Breyer, J., concurring)) (emphasis removed).

        Courts have held that “a willful infringement-based claim for enhanced

  damages survives a motion to dismiss if it alleges facts from which it can be plausibly

  inferred that the party accused of infringement (1) had knowledge of or was willfully

  blind to the existence of the asserted patent and (2) had knowledge of or was willfully

  blind to the fact that the party’s alleged conduct constituted, induced, or contributed

  to infringement of the asserted patent.” Dynamic Data Techs., LLC v. Amlogic

  Holdings Ltd., No. 1:19-cv-1239, 2020 WL 4365809, at *5 (D. Del. July 30, 2020); see

  also, e.g., Malvern Panalytical Ltd v. Ta Instruments-Waters LLC, No. 1:19-cv-2157,

  2021 WL 3856145, at *2 (D. Del. Aug. 27, 2021).




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        C.     Motions to Dismiss

        “To survive a [Rule 12(b)(6)] motion to dismiss, a complaint must contain

  sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

  on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

  Twombly, 550 U.S. 544, 570 (2007)). In other words, a plaintiff must plead sufficient

  “factual content [that] allows the court to draw the reasonable inference that the

  defendant is liable for the misconduct alleged.” Id. “Factual allegations must be

  enough to raise a right to relief above the speculative level on the assumption that all

  of the complaint’s allegations are true.” Twombly, 550 U.S. at 545. When considering

  a motion to dismiss, the court “must take all the factual allegations in the complaint

  as true,” but the court is “not bound to accept as true a legal conclusion couched as a

  factual allegation.” Papasan v. Allain, 478 U.S. 265, 286 (1986).

        D.     Abstractness Under § 101 of the Patent Act

        “Whoever invents or discovers any new and useful process, machine,

  manufacture, or composition of matter, or any new and useful improvement thereof,

  may obtain a patent therefor, subject to the conditions and requirements of this title.”

  35 U.S.C. § 101. The Supreme Court has “long held that this provision contains an

  important implicit exception: Laws of nature, natural phenomena, and abstract ideas

  are not patentable.” Ass’n for Molecular Pathology v. Myriad Genetics, Inc., 569 U.S.

  576, 589 (2013) (quotation marks omitted, alteration accepted).

        The seminal Supreme Court case regarding abstract ideas, Alice Corp. Pty. v.

  CLS Bank Int’l, 573 U.S. 208 (2014), outlined the two-step process that courts must


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  use to assess whether a claimed invention is an unpatentable abstract idea. At Alice

  step one, the Court must determine whether the claims are “directed to” an abstract

  idea. Id. at 217. If they are not, then the inquiry ends, and the court must find that

  the claims are patent eligible under § 101. If the claims are drawn to an abstract idea,

  then the court must proceed to Alice step two and assess whether the elements of the

  asserted claim contain an “inventive concept” sufficient to “transform” the abstract

  idea into a patent-eligible invention. Id. at 221. (quoting Mayo Collaborative Servs. v.

  Prometheus Lab’ys, Inc., 566 U.S. 66, 71 (2012)).

        In the absence of clearer guidance from the Supreme Court as to what

  constitutes an abstract idea, courts may “compare [the] claims at issue to those claims

  already found to be directed to an abstract idea in previous cases.” Enfish, LLC v.

  Microsoft Corp., 822 F.3d 1327, 1335 (Fed. Cir. 2016). This inquiry “must focus on the

  language of the Asserted Claims themselves . . . considered in light of the

  specification.” TecSec, Inc. v. Adobe Inc., 978 F.3d 1278, 1292 (Fed. Cir. 2020)

  (quotation marks and citation omitted). “Subject matter eligibility under § 101 may

  be determined at the Rule 12(b)(6) stage of a case. Dismissal at this early stage,

  however, is appropriate only when there are no factual allegations that, taken as true,

  prevent resolving the eligibility question as a matter of law.” ChargePoint, Inc. v.

  SemaConnect, Inc., 920 F.3d 759, 765 (Fed. Cir. 2019) (quotation marks and citation

  omitted).




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III.         ANALYSIS

             A.         SFI’s Motion to Amend the Complaint

             SFI seeks to amend the complaint to add claims for willful infringement as to

       all of the asserted patents. SFI argues that it learned during discovery that Google

       “met multiple times with SFI’s predecessors-in-interest and was on notice of the

       patented technology at issue in this case.” ECF No. 74 at 1. SFI argues that these

       facts show that “Google has, and continues to, willfully infringe the Asserted

       Patents.” Id. at 3.

                   i.        SFI’s Allegations of Willful Infringement

             The allegations that SFI seeks to add to the complaint are summarized as

       follows. Beginning in early 2017, Google and Security First Corporation (“SFC”) 4 had

       several    meetings    and   exchanged   communications   regarding   “the   possible

       incorporation of SFC’s technology into Google’s products and services.” ECF No. 75-1

       ¶ 45. During those interactions, SFC provided Google with “substantial information”

       regarding SFC’s technology and “informed Google that SFC’s technology was patent

       protected.” Id. Over two years later, SFC Secured Creditors Trust 5 “made Google

       aware of SFC’s substantial patent portfolio relating to data security technology used



       4 SFC is the “original owner of the Asserted Patents” and “was established in 2002 to

       develop innovative data security systems.” ECF No. 75-1 ¶ 14. “The longtime former
       chairman of SFC” formed SFI. Id. ¶ 17. SFI acquired the asserted patents in 2022.
       Id.

       5 The proposed amended complaint does not explain what relationship SFC Secured

       Creditors Trust has to SFC and SFI. It appears that SFC Secured Creditors Trust
       may have been formed, in part, to monetize SFC’s patent portfolio after it declared
       bankruptcy in August 2020. See ECF No. 75-1 ¶¶ 55, 59.
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  by Google.” Id. At this time, SFC’s patent portfolio included the ’140 and ’854 patents,

  as well as the published applications that led to the ’609 and ’116 patents. Id.

        The proposed amended complaint provides additional details regarding

  specific interactions between SFC and Google in the 2017–2018 timeframe. ECF No.

  75-1 ¶¶ 47–51. For example, it states that on January 30, 2018, individuals from SFC

  and Google met in California. Id. ¶ 49. At that meeting, SFC “presented a slide deck

  that contained descriptions of how certain of SFC’s data security inventions worked,

  including, among other things, the method that SFC had invented to secure cloud-

  based data that comprised splitting the data into chunks, encrypting the data with a

  first encryption key, encrypting the first encryption key with a second encryption key,

  and storing the first encryption key with the data and the second encryption key in a

  separate location.” Id.

        According to the proposed amended complaint, “[t]he provisional patent

  applications for each Asserted Patent were filed in 2004 and 2005, and the non-

  provision[al] application that led to the ’140 patent was publicly available no later

  than September 3, 2012.” ECF No. 75-1 ¶ 52. In addition, the ’140 patent issued

  before the meetings between SFC and Google, and “could have been identified

  through a simple search on Google’s own search engine.” Id. After several meetings

  occurred, “Google suddenly went silent.” Id.

        SFC Secured Creditors Trust and Google had several interactions in and

  around 2021. ECF No. 75-1 ¶¶ 55–59. For example, in February 2021, SFC Secured

  Creditors Trust emailed Google a presentation “concerning SFC’s patent portfolio,



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  which by that time included the issued ’140 and ’854 Patents and the published

  applications that led to the ’609 and ’116 patents.” Id. ¶ 55. A revised version of the

  presentation that was provided later in February “highlighted six patents, including

  two patents in the same patent family as the ’140 and ’116 Patents that SFI is

  asserting in this litigation.” Id. ¶ 57.

         Finally, the proposed amended complaint contends that “at a minimum, Google

  has had knowledge of the Asserted Patents and Google’s infringement of the Asserted

  Patents since SFI filed its original complaint on March 10, 2023” and “has done

  nothing to cease its infringement.” ECF No. 75-1 ¶ 61.

         The proposed amended complaint also alleges other ways that Google knew or

  should have known of the ’140 patent “and other patents and patent applications in

  the same patent family.” ECF No. 75-1 ¶ 53. For example, in 2014, the PTO “rejected

  a Google patent application” in view of one of SFC’s applications, US 2012/0221854.

  Id. The proposed amended complaint states that the ’140 patent and ’854 application

  claim priority to the same application and have “materially the same” specifications,

  including “all quotations from the specification of the ’854 Application that the

  examiner cited in rejecting Google’s ’196 Application.” Id.

             ii.       Merits of SFI’s Motion to Amend

         Google argues that SFI’s motion to amend should be denied because its

  proposed amendment would be futile. 6 See ECF No. 88. To assess futility, courts in

  the Fourth Circuit apply the Rule 12(b)(6) standard. Davison, 912 F.3d at 690. In the


  6 Google  does not assert that the amendment would be prejudicial or that SFI’s
  request is being made in bad faith.
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  wake of Halo, the contours of what kind of conduct warrants imposing enhanced

  damages are somewhat unclear, particularly under the Rule 12(b)(6) standard. See

  Sonos, Inc. v. Google LLC, 591 F. Supp. 3d 638, 643 (N.D. Cal. 2022) (“But what must

  be pled at the outset? No post-Halo appellate authority addresses any pleading

  requirements for enhanced damages, or for that matter, willful infringement.”)

  (emphasis in original). In the absence of definitive guidance from the Federal Circuit,

  this Court will apply the test articulated in Dynamic Data Technologies: “a willful

  infringement-based claim for enhanced damages survives a motion to dismiss if it

  alleges facts from which it can be plausibly inferred that the party accused of

  infringement (1) had knowledge of or was willfully blind to the existence of the

  asserted patent and (2) had knowledge of or was willfully blind to the fact that the

  party’s alleged conduct constituted, induced, or contributed to infringement of the

  asserted patent.” 2020 WL 4365809, at *5. 7

                      a.    Pre-Suit Knowledge of the Asserted Patents

        As SFI appears to recognize, its proposed amended complaint does not plead

  any direct evidence that Google was aware of the asserted patents prior to the filing

  of the original complaint. See, e.g., ECF No. 74 at 10 (“To be sure, the Amended



  7 As the court in Dynamic Data Technologies cogently explained, “[b]ecause of the

  difficulty in articulating precisely the range or type of circumstances that would
  transform a simple intentional or knowing infringement claim into an enhanced
  damages claim, the safest course is to allow an enhanced damages claim to proceed
  beyond the pleadings stage if the operative pleading alleges facts from which it can
  be plausibly inferred that the party accused of infringement had knowledge of the
  asserted patent and knowledge that the party’s alleged conduct constituted, induced,
  or contributed to infringement of the asserted patent.” 2020 WL 4365809, *5
  (quotation marks omitted).
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  Complaint does not provide direct evidence that Google actually knew of the specific

  issuance number of each Asserted Patent.”) (emphasis in original). But direct

  evidence of actual knowledge is not a prerequisite to pleading a willful infringement

  claim—if that were so, the Supreme Court’s “reasonable inference” jurisprudence

  would have little room to operate. Iqbal, 556 U.S. at 678.

        Thus, as other courts have recognized, facts sufficient to allow a reasonable

  inference of knowledge are sufficient to support a pleaded claim for willful

  infringement. See, e.g., WBIP, LLC v. Kohler Co., 829 F.3d 1317, 1342 (Fed. Cir. 2016)

  (upholding jury finding that an accused infringer had knowledge of the patents based

  on “record evidence upon which it could have inferred that [the defendant] had

  knowledge of the patents at issue”); Softex LLC v. HP Inc., No. 1:22-cv-1311, 2023 WL

  2392739, at *2 (W.D. Tex. Mar. 7, 2023) (granting motion to dismiss willful

  infringement claim because the complaint “fail[ed] to allege any facts to plausibly

  infer pre-suit knowledge”); Cirba Inc. v. VMware, Inc., No. 1:19-cv-742, 2023 WL

  3151852, at *2 (D. Del. Apr. 18, 2023) (granting motion for summary judgment of no

  willful infringement where there was no evidence “from which a jury could infer

  knowledge of the patent”) (emphasis in original); SIMO Holdings Inc. v. Hong Kong

  uCloudlink Network Tech. Ltd., 396 F. Supp. 3d 323, 334 (S.D.N.Y. 2019) (finding

  “evidence from which a jury could reasonably infer that [the defendant] had such

  knowledge”).

        When the broadly permissive standard for willful infringement post-Halo is

  viewed together with the equally broad and permissive Rule 12(b)(6) standard, the



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  Court is compelled to find that SFI’s motion to amend should be granted. None of the

  facts pleaded in the proposed amended complaint stands out as particularly strong

  individually, but when all of the facts are taken together—the number of meetings

  and communications between SFC (and SFC Secured Creditors Trust); SFC’s

  descriptions of its technology and its repeated statements about its technology being

  patented; the rejection of a Google patent application over an SFC application with a

  specification that is “materially the same” as that of the ’140 patent, including “all

  quotations” contained in the examiner’s rejection; and the identification of the ’140

  family of patents by their expiration date and a short description of the subject matter

  in one of the presentations SFC showed to Google 8—it is possible to draw the

  reasonable inference that Google was aware of the ’140 patent. 9



  8 The SFC presentation is described in Paragraph 57 of the amended complaint, ECF

  No. 75-1 ¶ 57, but was not attached to the amended complaint. Instead, Google
  attached the presentation to its brief in opposition to the motion to amend. ECF No.
  91-1. Thus, the Court can only consider the presentation if it finds that it is “integral
  to the complaint and there is no dispute about the document’s authenticity.” Goines
  v. Valley Cmty. Servs. Bd., 822 F.3d 159, 166 (4th Cir. 2016). Because the amended
  complaint discusses this presentation in detail, and because SFI’s claim for willful
  infringement turns, in part, on the content of the presentation, the Court finds that
  it is integral to the amended complaint. See id; see also Defs. of Wildlife v. Boyles, 608
  F. Supp. 3d 336, 344 (D.S.C. 2022) (“A document is integral to a complaint if the
  claims turn on or are otherwise based on statements contained in the document.”).
  There is no dispute about its authenticity.

  9 On September 20, 2023, SFI filed a notice of supplemental authority which included

  a series of emails, dated September through October 2017, between SFC and Google.
  ECF Nos. 100 (notice), 104 (email thread), 105 (email attachment). During the course
  of those exchanges, SFC sent a list of its patents, including the asserted ’140 patent,
  to Google. ECF No. 105. It is perplexing that SFI did not seek leave to file a second
  amended complaint in light of this evidence, given that it is stronger evidence of
  knowledge than anything pleaded in the amended complaint. Because this additional


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        This evidence places this case in the same ballpark as other cases that have

  allowed willful infringement claims to proceed. See, e.g., Kewazinga Corp. v. Microsoft

  Corp., 558 F. Supp. 3d 90, 119 (S.D.N.Y. 2021) (denying summary judgment of no

  willful infringement because the defendant had knowledge of patents related to the

  asserted patent and the jury could thus infer knowledge of the asserted patent);

  Ocado Innovation, Ltd. v. AutoStore AS, 561 F. Supp. 3d 36, 57 (D.N.H. 2021)

  (denying motion to dismiss willful infringement allegations based on, e.g., “the

  competitive nature” of the industry, the fact that the parties “explored a business

  relationship” where the plaintiff disclosed technology and patent applications to the

  defendant, the chronology of the defendant’s product development, the defendant’s

  citation of other patents belonging to the plaintiff, and the defendant’s patent

  prosecution activity with respect to other patents belonging to the plaintiff); SIMO

  Holdings, 396 F. Supp. 3d at 334 (denying judgment as a matter of law on a willful

  infringement claim based on evidence that the defendant was aware of the asserted

  patent’s parent, the application for the asserted patent was pending at the time the

  defendant was aware of the parent patent, and the defendant’s “internal architecture

  documents” bore “notable similarities” to the asserted patent).



  evidence is not part of the amended complaint, the Court cannot consider it when
  assessing whether the proposed amendment would be futile. U.S. ex rel. Wilson v.
  Kellogg Brown & Root, Inc., 525 F.3d 370, 376 (4th Cir. 2008) (futility assessed under
  Rule 12(b)(6) standard); Goldfarb v. Mayor & City Council of Baltimore, 791 F.3d 500,
  508 (4th Cir. 2015) (a court’s review of a complaint under Rule 12(b)(6) is ordinarily
  limited to the facts in the complaint); Cano v. DPNY, Inc., 287 F.R.D. 251, 257
  (S.D.N.Y. 2012) (refusing to consider evidence submitted in opposition to motion to
  amend complaint because “futility is generally adjudicated without resort to any
  outside evidence.”) (quotation marks omitted, alteration accepted).
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        SFI has not pleaded sufficient facts to support a reasonable inference that

  Google was aware of the other asserted patents. The ’854 and ’609 patents were not

  identified by family expiration date in the SFC presentation, nor were they related to

  the SFC application cited in the prosecution of Google’s application. 10 Indeed, none of

  the nonprovisional applications for the other asserted patents had even been filed at

  the time of the rejection. Given that the inference established with respect to the ’140

  patent already hangs by the barest thread, the lack of these pieces of evidence for the

  ’854, ’609, and ’116 patents renders any inference of knowledge unreasonable.

        Google cites cases where courts have, in other contexts, rejected the kinds of

  evidence of knowledge contained in the proposed amended complaint. 11 However, as

  the Court explained above, it is the combination of evidence in this case that allows

  the inference of knowledge to be reasonable. These cases are also distinguishable.




  10 Because the ’140 and ’116 patents share a specification, one could argue that this

  evidence should apply to the ’116 patent as well. But because the nonprovisional
  application for the ’116 patent had not even been filed at the time of the PTO’s
  rejection of Google’s application, such a finding would be a bridge too far. ECF No.
  75-1 ¶ 52 (noting that “provisional patent application for each Asserted Patent were
  filed in 2004 and 2005”); ’116 patent (noting that application was filed on May 11,
  2018).

  11 See, e.g., State Indus., Inc. v. A.O. Smith Corp., 751 F.2d 1226, 1236 (Fed. Cir.

  1985); Biedermann Techs. GmbH & Co. KG v. K2M, Inc., 528 F. Supp. 3d 407, 426
  (E.D. Va. 2021); Virginia Innovation Scis., Inc. v. Samsung Elecs. Co., 983 F. Supp.
  2d 700, 710 (E.D. Va. 2013); Software Rsch., Inc. v. Dynatrace LLC, 316 F. Supp. 3d
  1112, 1133 (N.D. Cal. 2018); Dental Monitoring SAS v. Align Tech., Inc., No. 3:22-cv-
  7335, 2023 WL 4297570, at *6 (N.D. Cal. June 30, 2023); Kirsch Rsch. & Dev., LLC
  v. Tarco Specialty Prod., Inc., No. 6:20-cv-00318, 2021 WL 4555802, at *2 (W.D. Tex.
  Oct. 4, 2021); NetFuel, Inc. v. Cisco Sys. Inc., No. 5:18-cv-02352, 2018 WL 4510737,
  at *2 (N.D. Cal. Sept. 18, 2018); Vasudevan Software, Inc. v. TIBCO Software Inc.,
  No. 3:11-cv-6638, 2012 WL 1831543, at *3 (N.D. Cal. May 18, 2012).
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        For example, Dental Monitoring, Biedermann, State Industries, Kirsch

  Research, and Virginia Innovation are distinguishable because those cases lack some

  of the additional pleaded evidence here, including the rejection of one of the patentee’s

  own patents over a related application and the identification of a family of asserted

  patents by their expiration date. Biedermann and State Industries were also decided

  against different evidentiary standards: summary judgment and an appeal from a

  final judgment on the merits, respectively.

        In NetFuel, the court’s decision was based in part on the fact that, at the time

  of the interactions between the patentee and accused infringer, the patent had not

  yet issued, and the available application was provisional, meaning it did not contain

  claims. Similarly, in Vasudevan Software, the asserted patent had not yet issued at

  the time of the relevant interactions. But here, the ’140 patent had issued by the time

  of SFC’s interactions with Google.

        Software Research is also distinguishable because two of the notice letters

  considered by that court “were sent nearly a decade ago to other companies [i.e., not

  the defendant],” and the letters were sent before the asserted patent existed. Software

  Research, 316 F. Supp. 3d at 1133. Here, the interactions described in the proposed

  amended complaint involved Google, not “other companies,” and those interactions

  occurred entirely after the ’140 patent was issued in May 2016.

        Accordingly, SFI has pleaded facts sufficient to allow the plausible inference

  that Google was aware of the ’140 patent prior to the filing of this suit, but was not

  aware of the other asserted patents.



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                      b.    Pre-Suit Knowledge of Infringement

        SFI must also plead that Google “had knowledge of or was willfully blind to the

  fact that [its] alleged conduct constituted, induced, or contributed to infringement of

  the asserted patent.” See, e.g., Dynamic Data Techs., 2020 WL 4365809, at *5. SFI

  argues that the facts pleaded in the complaint “give rise to a plausible inference that

  Google actually knew of . . . Google’s probable infringement,” pointing to, inter alia,

  the interactions between SFC and Google, “the content and detail of the technical

  information disclosed by SFC to Google,” and the “substantial similarity” between the

  technology SFC disclosed and Google’s encryption technology. ECF No. 74 at 10–11

  (emphasis in original).

        According to the proposed amended complaint, SFC’s discussions with Google

  included a recitation of the basic steps claimed in the asserted patents:

               On or about January 30, 2018, Messrs. Mumaugh and
               Viehweg met with Mr. Bhan at Google’s offices in
               Sunnyvale, California. During that meeting, Messrs.
               Mumaugh and Viehweg presented a slide deck that
               contained descriptions of how certain of SFC’s data
               security inventions worked, including, among other things,
               the method that SFC had invented to secure cloud-based
               data that comprised splitting the data into chunks,
               encrypting the data with a first encryption key, encrypting
               the first encryption key with a second encryption key, and
               storing the first encryption key with the data and the
               second encryption key in a separate location. In short, a
               data security method that was substantially similar to
               Google’s Encryption At-Rest technology.

  ECF No. 75-1 ¶ 49. The proposed amended complaint’s description of Google’s

  Encryption At-Rest technology is largely consistent with SFC’s description of its

  technology. For example, the proposed amended complaint describes Google’s


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  encryption process using the following diagram, which shows that Google’s process

  breaks data into chunks, encrypts the chunks with their “own” keys, and then stores

  the chunks with the keys on various storage devices:




  ECF No. 75-1 at 14. It also explains that the individual encryption keys employed by

  Google are further encrypted with an additional “key encryption key.” Id. ¶ 41. These

  steps are consistent with the basic steps claimed by the asserted patents and

  described by SFC in its January 2018 meeting with Google. 12



  12 Claim 1 of the ’140 patent differs from the other asserted patents because it
  includes limitations relating to a “virtual disk.” See ’140 patent, claim 1. The proposed
  amended complaint’s description of the pre-suit interactions between SFC and Google
  does not indicate whether these limitations were part of SFC’s description of its
  patented technology. Nonetheless, because the pleaded facts support an inference of
  knowledge of or willful blindness to the ’140 patent, the facts also support an
  inference of knowledge of or willful blindness to what that patent claims. And the
  proposed amended complaint’s infringement allegations with respect to the “virtual


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        Based on the facial similarity between the proposed amended complaint’s

  characterization of Google’s technology and the asserted patented technology (as

  discussed above), the Court finds that one may plausibly infer that Google had

  “knowledge of or was willfully blind to the fact that [their] alleged conduct

  constituted, induced, or contributed to infringement of the asserted patent.” Dynamic

  Data, 2020 WL 4365809, at *5.

                      c.    Post-Suit Willful Infringement

        SFI also alleges that “Google’s infringement of the Asserted Patents has been

  willful since the service of the original complaint on March 10, 2023.” ECF No. 74 at

  16; ECF No. 75-1 ¶ 61. Whether a complaint can supply the necessary knowledge to

  support a claim of willful infringement is a question that has divided district courts.

  Compare, e.g., ZapFraud, Inc. v. Barracuda Networks, Inc., 528 F. Supp. 3d 247, 248

  (D. Del. 2021) (holding that a complaint cannot serve as notice for willful

  infringement and collecting cases) and Rembrandt Social Media, LP v. Facebook, Inc.,

  950 F. Supp. 2d 876 (E.D. Va. 2013) (same) with BillJCo, LLC v. Cisco Sys., Inc., No.

  2:21-cv-00181, 2021 WL 6618529, at *8 (E.D. Tex. Nov. 30, 2021) (holding that a

  complaint can serve as notice for willful infringement).

        In Rembrandt, the Honorable T. S. Ellis III held that service of a complaint

  does not provide notice adequate to support a claim of willful infringement.



  disk” element cite evidence from 2018 and 2020, which is fairly contemporaneous
  with SFC’s discussions with Google. ECF No. 75-1 ¶¶ 154–55. Therefore, the facts
  alleged in the amended complaint support a plausible inference that Google knew of
  or was willfully blind to its infringement of each limitation of claim 1 of the ’140
  patent before the commencement of this suit.
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  Rembrandt, 950 F. Supp. 2d at 884. Judge Ellis explained that “[t]o conclude

  otherwise would lead to the anomalous result that every lawsuit alleging

  infringement could include a willful infringement claim based on simply the filing or

  the serving of a complaint.” 13 Id. In ZapFraud, the court held the same, reasoning

  that “[t]he purpose of a complaint is to obtain relief from an existing claim and not to

  create a claim.” ZapFraud, 528 F. Supp. 3d at 250 (quoting Helios Streaming, LLC v.

  Vudu, Inc., No. 1:19-cv-1792, 2020 WL 3167641, at *2 n.1 (D. Del. June 15, 2020)).

  The court explained further:

               ZapFraud has identified, and I know of, no area of tort law
               other than patent infringement where courts have allowed
               a plaintiff to prove an element of a legal claim with
               evidence that the plaintiff filed the claim. The limited
               authority vested in our courts by the Constitution and the
               limited resources made available to our courts by Congress
               counsel against encouraging plaintiffs to create claims by
               filing claims. It seems to me neither wise nor consistent
               with principles of judicial economy to allow court dockets
               to serve as notice boards for future legal claims for indirect
               infringement and enhanced damages.

  Id. In Callwave Commc’ns LLC v. AT & T Mobility LLC, No. 1:12-cv-1701, 2014 WL

  5363741 (D. Del. Jan. 28, 2014), the court reasoned that not allowing “allegations of

  willfulness based solely on conduct post-dating the filing of the original complaint”

  would encourage parties to provide pre-suit notice of infringement allegations, which

  brings “a benefit to society if the matter is resolved without a suit.” Id. at *1.



  13 The court’s decision on this issue in Rembrandt rested in part on the Federal

  Circuit’s holding in In re Seagate Tech., LLC, 497 F.3d 1360 (Fed. Cir. 2007), which
  was subsequently vacated by the Supreme Court in Halo. Rembrandt, 950 F. Supp.
  2d at 883–84. To be clear, the Court’s reliance on Rembrandt is limited solely to the
  reasoning quoted above, which remains applicable and persuasive after Halo.
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        The Court finds the reasoning of the courts in Rembrandt, ZapFraud, and

  Callwave persuasive and, consistent with those cases, holds that a complaint cannot

  provide the notice necessary to establish knowledge for willful infringement purposes.

        SFI argues that the Court need not resolve “the metaphysical question of

  whether a patent owner can allege willful infringement in an original complaint

  based on the filing of that same original complaint” because, here, the allegation of

  willful infringement is being made in an amended complaint. ECF No. 93 at 15. SFI’s

  argument emphasizes form at the expense of substance. The question before the

  Court is still whether a complaint—operative at the time it is filed and served—can

  supply the necessary knowledge for a willful infringement allegation. Consistent with

  the Court’s discussion above, the answer is still no, even when a plaintiff has filed an

  amended complaint. See Callwave, 2014 WL 5363741, at *1 (noting that the plaintiff

  alleged willfulness based on service of “an earlier version of the suit . . . before the

  present amended complaint was filed” and holding that such notice is insufficient for

  willful infringement). Permitting plaintiffs to assert post-suit willful infringement in

  amended complaints but not in original complaints would incentivize plaintiffs to file

  amended complaints, which would unduly burden litigants and the courts. 14




  14 Conversely, this holding does not incentivize post-complaint infringement or leave

  patentees without a remedy for such infringement—patentees can seek damages for
  “past and future infringement through the life of the patent,” Summit 6, LLC v.
  Samsung Elecs. Co., 802 F.3d 1283, 1301 (Fed. Cir. 2015), and the court may award
  supplemental damages for infringement “not covered by [a] jury verdict,” ActiveVideo
  Networks, Inc. v. Verizon Commc’ns, Inc., No. 2:10-cv-248, 2011 WL 4899922, at *4
  (E.D. Va. Oct. 14, 2011), aff’d, 694 F.3d 1312 (Fed. Cir. 2012).


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                        d.   Egregious Behavior

        The parties dispute whether SFI was required to plead facts indicating that

  Google engaged in “egregious” conduct 15 that would warrant an award of enhanced

  damages. ECF No. 88 at 22–24; ECF No. 93 at 14. This question, too, has divided

  district courts. See, e.g., Valinge Innovation AB v. Halstead New England Corp., No.

  CV 1:16-cv-1082, 2018 WL 2411218, at *6 (D. Del. May 29, 2018) (holding that

  egregious conduct is not an element of a willful infringement claim); Finjan, Inc. v.

  Cisco Sys. Inc., No. 5:17-cv-72, 2017 WL 2462423, at *5 (N.D. Cal. June 7, 2017)

  (dismissing allegation of willful infringement because the complaint failed to plead

  egregious conduct).

        The Federal Circuit’s post-Halo jurisprudence suggests that a plaintiff is not

  required to plead such egregious conduct in the complaint. For example, in Eko

  Brands, LLC v. Adrian Rivera Maynez Enterprises, Inc., 946 F.3d 1367 (Fed. Cir.

  2020), the court explained that “[u]nder Halo, the concept of ‘willfulness’ requires a

  jury to find no more than deliberate or intentional infringement.” Id. at 1378 (quoting

  Halo, 579 U.S. at 94). The court then explained that “[t]he question of enhanced

  damages is addressed by the court once an affirmative finding of willfulness has been

  made.” Id. The court concluded that “whether an accused patent infringer’s conduct

  was ‘egregious behavior’ or ‘worthy of punishment’ are therefore not appropriate for

  jury consideration.” Id.


  15Throughout this Memorandum Opinion and Order, the Court uses “egregious
  conduct” as a shorthand to refer to the factual circumstances that “transform[] simple
  knowledge into such egregious behavior” and warrant imposing enhanced damages.
  Halo, 579 U.S. 93, 111 (Breyer, J., dissenting).
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        Eko Brands demonstrates that the willfulness inquiry is separate from the

  egregious conduct inquiry, which supports the proposition that a finding of egregious

  conduct is not needed to find willfulness. This is further supported by the court’s

  discussion in SRI Int’l, Inc. v. Cisco Sys., Inc., 14 F.4th 1323 (Fed. Cir. 2021), where

  the Court clarified that Halo’s reference to “wanton, malicious, and bad-faith” conduct

  refers to “‘conduct warranting enhanced damages,’ not conduct warranting a finding

  of willfulness.” Id. at 1330 (quoting Halo, 579 U.S. at 103–04). The court then

  proceeded to analyze willful infringement separately from enhanced damages. Id. at

  1330–31. The court also clarified that “willfulness is a component of enhancement,”

  and a finding of willfulness does not necessarily warrant enhanced damages. Id.

        More recently, in Ironburg Inventions Ltd. v. Valve Corp., 64 F.4th 1274 (Fed.

  Cir. 2023), the Federal Circuit considered whether the district court erred when it

  denied the defendant’s motion for judgment as a matter of law of no willful

  infringement because the district court had already decided “it was not going to

  exercise its discretion to enhance infringement damages.” Id. at 1295. The Federal

  Circuit concluded that this was error, noting that “[w]illfulness and enhancement are

  separate issues . . . and a finding of willful infringement may have collateral

  consequences even for a party not ordered to pay enhanced damages, such as

  reputational injuries and possible nondischargeability of debts in bankruptcy.” Id.

  (citations omitted).

        Eko Brands, SRI International, and Ironburg Inventions show that willful

  infringement and egregious conduct are distinct but parallel inquiries that must both



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  be answered in the affirmative to award enhanced damages. Put another way, a

  plaintiff may show that a defendant willfully infringed their patent without showing

  that the defendant acted egregiously in a way that warrants imposing enhanced

  damages; in such a case, the plaintiff has still succeeded on their willful infringement

  claim. See, e.g., Ironburg Inventions, 64 F.4th at 1295.

        Consistent with the decisions of other district courts that have addressed this

  question, the Court finds that egregious conduct is not an element of a claim for

  willful infringement that needs to be pleaded in the complaint. 16 See, e.g., Fate

  Therapeutics, Inc. v. Shoreline Biosciences, Inc., No. 22-cv-00676, 2023 WL 2756494,



  16 Google cites Bushnell Hawthorne, LLC v. Cisco Sys., Inc., No. 1:18-cv-760, 2019 WL

  8107921 (E.D. Va. Feb. 26, 2019), for the proposition that a complaint must plead
  that an alleged infringer’s conduct was egregious. ECF No. 88 at 16. In that case, the
  court explained that “to state a plausible claim of willful infringement, the complaint
  must also allege facts to demonstrate the defendant’s behavior was egregious under
  the circumstances, such as facts showing that defendant was subjectively aware of
  the risk that its conduct constituted infringement.” Bushnell, 2019 WL 8107921, at
  *1. To this Court—which has the benefit of the Federal Circuit’s more recent decisions
  in Eko Brands, SRI International, and Ironburg Inventions—it appears that the court
  in Bushnell lumped together the knowledge of infringement prong of the willfulness
  inquiry and the egregious conduct inquiry. But, as that court explained, an accused
  infringer’s “egregious” behavior can include “subjective[] aware[ness] of the risk that
  its conduct constituted infringement,” which is similar to the knowledge of
  infringement inquiry undertaken by the Court here. Id. In this way, this Court’s
  conclusion is largely consistent with Bushnell, insofar as the Bushnell court did not
  necessarily require the plaintiff to plead anything more than the defendant’s
  knowledge of the asserted patent(s) and knowledge of its infringement. This Court
  agrees with the Bushnell court that a claim for enhanced damages proceeding on a
  willful infringement theory needs to show some kind of knowledge of or willful
  blindness to infringement on the part of the accused infringer. Where this Court and
  the Bushnell court disagree is whether the facts that “transform[] simple knowledge
  into such egregious behavior [that warrants enhanced damages]” must be pleaded in
  the complaint. Halo, 579 U.S. at 111 (Breyer, J., concurring). In this Court’s view, the
  Federal Circuit’s recent decisions have established that those facts may be shown
  later.
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  at *10 (S.D. Cal. Mar. 30, 2023); Therabody, Inc. v. Tzumi Elecs. LLC, No. 21-cv-7803,

  2022 WL 17826642, at *5 (S.D.N.Y. Dec. 19, 2022); Sonos, 591 F. Supp. 3d at 644;

  Align Tech., Inc. v. 3Shape A/S, 339 F. Supp. 3d 435, 448 (D. Del. 2018); Dresser,

  LLC v. VRG Controls, LLC, No. 18-cv-1957, 2018 WL 10426611, at *4 (N.D. Ill. Nov.

  28, 2018); Valinge Innovation, 2018 WL 2411218, at *6.

                                         *      *     *

        Accordingly, SFI’s motion to amend is granted. SFI’s willful infringement

  claim as to the ’140 patent may proceed, but its willful infringement claims as to the

  remaining asserted patents may not.

        B.     Google’s Motion to Dismiss

        Google argues that “the Asserted Claims are directed to ineligible subject

  matter” under § 101 because, at Alice step one, the patents are “directed to the

  abstract idea of parsing and encrypting stored data” and “disclose no specifics for how

  to implement the otherwise functional steps of the claims” and, at Alice step two,

  “they merely recite abstract, routine, conventional activities done with generic

  computer hardware and software.” ECF No. 38 at 8 (emphasis in original).

        Because the Federal Circuit has indicated that district courts may “compare

  [the] claims at issue to those claims already found to be directed to an abstract idea

  in previous cases,” Enfish, 822 F.3d at 1335, the Court will first provide an overview

  of several relevant Federal Circuit cases. Then, the Court will compare the claimed

  inventions in those cases to the invention claimed by the asserted patents here to

  determine whether the asserted claims are directed to an abstract idea.


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              i.      Alice and the Federal Circuit’s Application of the Alice
                      Two-Step Framework

                      a.    Cases where the asserted claims were found to be
                            directed to ineligible subject matter under § 101

        In Alice itself, the patents related to “a computerized scheme for mitigating

  ‘settlement risk’—i.e., the risk that only one party to an agreed-upon financial

  exchange will satisfy its obligation.” Alice, 573 U.S. at 213. The Court summarized

  the claims as: “(1) the foregoing method for exchanging obligations (the method

  claims), (2) a computer system configured to carry out the method for exchanging

  obligations (the system claims), and (3) a computer-readable medium containing

  program code for performing the method of exchanging obligations (the media

  claims).” Id. at 214.

        At step one, the Court found the asserted claims were directed to an abstract

  idea. The Court found that the claims were “drawn to the concept of intermediated

  settlement,” which “is a fundamental economic practice long prevalent in our system

  of commerce.” Alice, 573 U.S. at 219 (quotation marks omitted). At step two, the Court

  found that “the mere recitation of a generic computer cannot transform a patent-

  ineligible abstract idea into a patent-eligible invention.” Id. at 223. The Court found

  that each step of the function the computer performed was a “purely conventional”

  step “previously known to the industry.” 17 Id. at 225 (quotation marks omitted,

  alteration accepted).


  17 The Court’s analysis at Alice step two echoes the concept of patent novelty. Courts

  have attempted to explain the difference between the “inventive feature” inquiry
  under § 101 and the novelty inquiry under §§ 102 and 103. See, e.g., Cogent Med., Inc.


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        In Ericsson Inc. v. TCL Commc’n Tech. Holdings Ltd., 955 F.3d 1317 (Fed. Cir.

  2020), the patent before the Federal Circuit described “a system and method for

  controlling   access   to   a   platform   for   a    mobile   terminal   for   a   wireless

  telecommunications system.” Id. at 1325 (quotation marks omitted). At Alice step one,

  the court found that “[a]lthough written in technical jargon, a close analysis of the

  claims reveals that they require nothing more than” the “abstract idea” of “controlling

  access to, or limiting permission to, resources.” Ericsson, 955 F.3d at 1326. The court

  reasoned that “[c]ontrolling access to resources is exactly the sort of process that can

  be performed in the human mind, or by a human using a pen and paper, which we

  have repeatedly found unpatentable.” Id. (quotation marks omitted).

        At Alice step two, the patentee argued that the “layered architecture” feature

  of the invention constituted an inventive concept. Ericsson, 955 F.3d at 1328

  (quotation marks omitted). The court rejected that argument, noting that “this

  allegedly novel aspect of the invention is wholly missing from” the asserted claims,

  and that “[n]either claim recites any particular architecture at all—much less the

  specific three-layered architecture advocated by Ericsson.” Id.

        In Universal Secure Registry LLC v. Apple Inc., 10 F.4th 1342 (Fed. Cir. 2021),

  the patents before the Federal Circuit were “unrelated” but all dealt with “similar




  v. Elsevier Inc., 70 F. Supp. 3d 1058, 1065 n.3 (N.D. Cal. 2014). Ultimately, while
  there may be some conceptual overlap, they are treated differently as a matter of
  doctrine, and a finding in one area does not impact the other. See, e.g., Synopsys, Inc.
  v. Mentor Graphics Corp., 839 F.3d 1138, 1151 (Fed. Cir. 2016) (“[A] claim for a new
  abstract idea is still an abstract idea. The search for a § 101 inventive concept is thus
  distinct from demonstrating § 102 novelty.”) (emphasis in original).
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  technology—securing electronic payment transactions.” Id. at 1345. The ’539 patent

  contemplated the creation of a “Universal Secure Registry” (“USR”) that takes the

  place of “multiple conventional forms of identification.” Id. at 1348 (quotation marks

  omitted). In one embodiment of the invention, the invention facilitates “purchasing

  goods or services without revealing personal financial information to a merchant.” Id.

  To do so, the patent described a process by which verification codes were passed

  between the user, merchant, and USR system. Id.

        At Alice step 1, the court found that the asserted claims were directed to an

  abstract idea. The Court found that “the claims simply recite conventional actions in

  a generic way (e.g., receiving a transaction request, verifying the identity of a

  customer and merchant, allowing a transaction) and do not purport to improve any

  underlying technology.” Universal Secure Registry, 10 F.4th at 1349 (quotation marks

  omitted).

        At Alice step two, the patentee argued that the “claim’s recitation of (1) time-

  varying codes and (2) sending data to a third-party as opposed to the merchant each

  rise to the level of an inventive concept.” Universal Secure Registry, 10 F.4th at 1350.

  The court rejected both arguments, noting that “the patent itself acknowledges that

  the claimed step of generating time-varying codes for authentication of a user is

  conventional and long-standing,” and that the Supreme Court in Alice had held that

  “the use of a third-party intermediary in a financial transaction” is an abstract idea.

  Id.




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                      b.     Cases where the asserted claims were found to be
                             directed to eligible subject matter under § 101

        In Enfish, the patents before the Federal Circuit were “directed to an

  innovative logical model for a computer database” which is a “model of data for a

  computer database explaining how the various elements of information are related to

  one another.” Enfish, 822 F.3d at 1330. The claimed logical model “include[d] all data

  entities in a single table, with column definitions provided by rows in that same

  table,” which was contrary to conventional logical models at the time that stored each

  kind of data in a separate table. Id.

        At Alice step one, the Court found that the claims were not directed to an

  abstract idea. “Rather, they are directed to a specific improvement to the way

  computers operate, embodied in the self-referential table.” Enfish, 822 F.3d at 1336.

  The court rejected the district court’s characterization of the claimed invention, which

  it said was “storing, organizing, and retrieving memory in a logical table” and “the

  concept of organizing information using tabular formats.” Id. at 1337 (quotation

  marks omitted). The court noted that “describing the claims at such a high level of

  abstraction and untethered from the language of the claims all but ensures that the

  exceptions to § 101 swallow the rule.” Id. The court reasoned that “the claims are not

  simply directed to any form of storing tabular data, but instead are specifically

  directed to a self-referential table for a computer database.” Id. (emphasis in original).

  The court also concluded that the patents’ specification disclosed several advantages

  of the claimed invention over the prior art. Id. The court declined to proceed to Alice

  step two.


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        In Visual Memory LLC v. NVIDIA Corp., 867 F.3d 1253 (Fed. Cir. 2017), the

  patent before the Federal Circuit explained that conventional computer systems used

  a three-tiered system of memory: low-speed memory for large amounts of data (e.g.,

  a hard drive); medium-speed memory as the main memory (e.g., RAM); and high-

  speed memory that serves as processor cache memory. Id. The patent described

  various problems with the state of the art: cache memory was the fastest but was not

  always large enough to store all of the data needed by the processor; transferring data

  between the types of memory caused delays; and memory systems had to be designed

  for a particular processor. Id. The patent claimed an improved “memory system with

  programmable operational characteristics that can be tailored for use with multiple

  different processors.” Id. at 1255.

        The district court found the patents ineligible under Alice, concluding that “the

  claims were directed to the abstract idea of categorical data storage, which humans

  have practiced for many years.” Id. (quotation marks omitted). At step two, the

  district court found no inventive concept because the claimed computer elements

  “were generic and conventional.” Id.

        At Alice step one, the Federal Circuit found that the claims were not directed

  to an abstract idea. The court concluded that “[n]one of the claims recite all types and

  all forms of categorical data storage.” Visual Memory, 867 F.3d at 1259. The court

  also looked to the specification, which “explains that multiple benefits flow from the

  . . . improved memory system.” Id. The court found that “the claims here are directed




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  to a technological improvement: an enhanced computer memory system.” Id. The

  court declined to proceed to Alice step two.

          In Finjan, Inc. v. Blue Coat Sys., Inc., 879 F.3d 1299 (Fed. Cir. 2018), one of

  the patents before the court dealt with “a system and method for providing computer

  security by attaching a security profile to a downloadable.” Id. at 1302. According to

  the court, “Claim 1 of the . . . patent scans a downloadable and attaches the virus

  scan results to the downloadable file in the form of a newly generated file.” Id. at

  1304.

          At Alice step one, the court found that the claims were not directed to an

  abstract idea. The court found that “the method of claim 1 employs a new kind of file

  that enables a computer security system to do things it could not do before.” Id. at

  1305. Thus, the court found that “[t]he asserted claims are [] directed to a non-

  abstract improvement in computer functionality, rather than the abstract idea of

  computer security writ large.” Id. The court declined to proceed to Alice step two.

          In Ancora Techs., Inc. v. HTC Am., Inc., 908 F.3d 1343 (Fed. Cir. 2018), the

  patent before the Federal Circuit described an improved method for identifying and

  restricting an unauthorized software program’s operation. The method used “a

  modifiable part of the BIOS memory” to store the information used “to determine

  whether the program is licensed to run on that computer.” Id. at 1345. This method

  “improves computer security” because “successfully hacking BIOS memory . . . is

  much harder than hacking” conventional computer memory. Id. The district court

  applied Alice and granted the defendant’s motion to dismiss. Id. at 1346.



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        At Alice step one, the court determined that the claims were not directed to an

  abstract idea. The court found that “[i]mproving security—here, against a computer’s

  unauthorized use of a program—can be a non-abstract computer-functionality

  improvement if done by a specific technique that departs from earlier approaches to

  solve a specific computer problem.” Ancora, 908 F.3d at 1348. The court reasoned that

  the patent “specifically identifies how that functionality improvement is effectuated

  in an assertedly unexpected way” and “addresses a technological problem with

  computers.” Id. at 1349. The court declined to proceed to Alice step two.

        In TecSec, Inc. v. Adobe Inc., 978 F.3d 1278 (Fed. Cir. 2020), the patents before

  the Federal Circuit claimed “particular systems and methods for multi-level security

  of various kinds of files being transmitted in a data network.” Id. at 1282. The patents

  claimed a method “in which a digital object . . . is assigned a level of security that

  corresponds to a certain combination of access controls and encryption,” and the

  encrypted object is then “embedded or nested within a container object, which, if itself

  encrypted and access controlled, provides a second layer of security.” Id. (quotation

  marks omitted). The district court below denied the defendant’s motion for summary

  judgment on § 101 ineligibility. Id. at 1292.

        At Alice step one, the Court found that the claims were not directed to an

  abstract idea but were instead “directed to improving a basic function of a computer

  data-distribution network, namely, network security.” Id. at 1296. The court also

  observed that “[t]he patent makes clear that the focus of the claimed advance is on

  improving such a data network for broadcasting a file to a large audience, with the



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  improvement assertedly being an efficient way for the sender to permit different parts

  of the audience to see different parts of the file.” Id. The court declined to proceed to

  Alice step two.

             ii.      Comparing the Asserted Claims to Claims Previously
                      Analyzed by Other Courts

                      a.     Alice Step One

        At Alice step one, the Court must determine “whether the claims at issue are

  directed to” an abstract idea. Alice, 573 U.S. at 217. To determine what the asserted

  claims are “directed to,” the Court asks “what the patent[s] assert[] to be the focus of

  the claimed advance over the prior art,” focusing on “the language of the Asserted

  Claims themselves . . . considered in light of the specification.” TecSec, 978 F.3d at

  1292 (quotation marks and citation omitted).

        Google argues that “the Asserted Claims are directed to the abstract idea of

  parsing and encrypting stored data.” ECF No. 38 at 15. In support, Google asserts

  that the claim language “is recited in highly generic terms.” Id. Google analogizes the

  elements of claim 1 of the ’609 patent to storing documents in file cabinets:

       1. A method for securing data, the
       method comprising: executing code
       by a processor to perform:
       receiving a first key from a storage Obtaining a key for a manager’s
       system;                               safe that contains the keys to the
                                             office file cabinets
       generating a plurality of data Dividing a document into sets of
       chunks based on a data set, wherein pages to be stored in different file
       each data chunk of the plurality of cabinets within the office, where
       data chunks comprises less than an the document can be reconstructed
       entirety of data of the data set, and using pages from at least a
       wherein the data set can be minimum number of file cabinets
       reconstructed using at least a


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       minimum number of the plurality of
       chunks;
       encrypting each respective data          Locking each set of pages into a
       chunk of the plurality of data           different file cabinet, each of which
       chunks with a respective second key,     has its own key
       wherein each of the respective
       second keys are distinct from each
       other;
       performing       a      cryptographic    Locking the file cabinet keys in the
       operation based on the first key to      manager’s safe using the safe key
       further secure the plurality of data
       chunks; and
       storing, in a memory coupled to the      Posting a note on one or more of the
       processor, at least one data chunk of    office file cabinets indicating that
       the plurality of data chunks with        the key to that file cabinet is in the
       data indicative of at least one of the   manager’s safe, or that the
       distinct encryption keys on at least     manager has the key
       one storage device.

  ECF No. 38 at 21–22. Thus, according to Google, “the recited functions of [the] ’609

  patent claim 1 could be performed manually by humans.” Id; see also Ericsson, 955

  F.3d at 1357 (“Controlling access to resources is exactly the sort of process that can

  be performed in the human mind, or by a human using a pen and paper, which we

  have repeatedly found unpatentable.”) (quotation marks omitted).

        Google’s own tortured analogy demonstrates why this case is unlike Ericsson.

  In Ericsson, the Federal Circuit held that a patent was directed to “[c]ontrolling

  access to resources,” which was “exactly the sort of process that can be performed in

  the human mind, or by a human using a pen and paper” and which “long predate[d]”

  the patent and was “pervasive in human activity.” Ericsson, 955 F.3d at 1327

  (quotation marks omitted).

        The sequence of events that Google describes in its analogy is far from

  “pervasive in human activity”—it is not reasonable or practical to divide documents

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  into “chunks” of pages, lock those “chunks” in separate places with separate keys,

  lock those keys away with a separate key, and then “[p]ost[] a note . . . indicating that

  the key to that file cabinet is in the manager’s safe, or that the manager has the key.”

  ECF No. 38 at 21–22. Virtually any computer-based process could be characterized

  in such a convoluted way. In TecSec, for example, the Federal Circuit found the

  asserted claim was not directed to an abstract idea. TecSec, 978 F.3d at 1294–95. But

  one can easily imagine adapting Google’s file cabinet analogy to the claim in TecSec:

   1. A method for providing multi-level
   multimedia security in a data network,
   comprising the steps of:
   A) accessing an object-oriented key Speaking to the office manager, who
   manager;                                  manages the keys to the filing cabinets
                                             in the office 18
   B) selecting an object to encrypt;        Selecting a document to store in a filing
                                             cabinet
   C) selecting a label for the object;      Naming the document
   D) selecting an encryption algorithm;     Selecting a filing cabinet
   E) encrypting the object according to the Locking the document in the filing
   encryption algorithm;                     cabinet
   F) labelling the encrypted object;        Naming the file cabinet
   G) reading the object label;              Reading the name of the document
   H) determining access authorization Determining whether employees may
   based on the object label; and            access the document based on the name
                                             of the document
   I) decrypting the object if access Unlocking the filing cabinet if the
   authorization is granted.                 employee may access the document




  18 See TecSec, Inc. v. Adobe Sys. Inc., 658 F. App’x 570, 580 (Fed. Cir. 2016)
  (construing “Object-oriented Key Manager” to mean “a software component that
  manages the encryption of an object by performing one or more of the functions of
  generating, distributing, changing, replacing, storing, checking on, and destroying
  cryptographic keys.”). All of these are functions that could be performed by a person
  with physical keys.
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  TecSec, 978 F.3d at 1282. Indeed, Google’s analogy fits the claim at issue in TecSec

  better than the asserted claims here, and the Federal Circuit still found that the claim

  was non-abstract.

        A method claim is not abstract just because it can be analogized to something

  that can be done in the physical world—after all, real-world methods and processes

  can be patentable. Instead, to be found ineligible, a method claim must, for example,

  encompass a process that “long predates the [asserted patent] and is pervasive in

  human activity,” Ericsson, 955 F.3d at 1327, or it must claim “some business practice

  known from the pre-Internet world,” DDR Holdings, 773 F.3d at 1257. Here, the steps

  embodied in the asserted claims are virtually nonsensical—or, at the very least,

  entirely impractical—except in the context of computers, which supports the

  proposition that the claims are directed to an improvement in computer functionality.

        The Federal Circuit’s decisions in Ancora and Finjan also support this

  proposition. The claims in Ancora were directed to a method for storing information

  in the BIOS memory of a computer to “improve[] computer security.” Ancora, 908 F.3d

  at 1345. The court explained, at Alice step one, that “[i]mproving security . . . can be

  a non-abstract improvement if done by a specific technique that departs from earlier

  approaches to solve a specific computer problem” and the patent “specifically

  identifies how that functionality improvement is effectuated in an assertedly

  unexpected way.” Id. at 1348–49. In Finjan, the court held that the claims were

  “directed to a non-abstract improvement in computer functionality, rather than the

  abstract idea of computer security writ large.” Finjan, 879 F.3d at 1305.



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          TecSec, Ancora, and Finjan show that specific methods for improving computer

  security can be non-abstract. In the instant case, the claims are directed to an

  improved method for securely storing data, and the claims themselves explain “how

  that functionality improvement is effectuated” with specific parsing, encryption, and

  storage steps. Ancora, 773 F.3d at 1348–49.

          This conclusion is further bolstered by DDR Holdings, LLC v. Hotels.com, L.P.,

  773 F.3d 1245 (Fed. Cir. 2014), where the Federal Circuit found:

                The claims here are similar to the claims in the cases
                [where the claims were found ineligible as abstract ideas]
                in the sense that the claims involve both a computer and
                the Internet. But these claims stand apart because they do
                not merely recite the performance of some business practice
                known from the pre-Internet world along with the
                requirement to perform it on the Internet. Instead, the
                claimed solution is necessarily rooted in computer
                technology in order to overcome a problem specifically
                arising in the realm of computer networks.

  Id. at 1257 (emphasis added). Here, too, the claimed invention is “necessarily rooted

  in computer technology” because it solves a problem that arises in the context of

  computers and computer networks. In other words, the patents claim “a technological

  improvement to computer functionality itself.” Universal Secure Registry, 10 F.4th at

  1350.

          In several cases, when considering whether the claims at issue were directed

  to an abstract idea, the Federal Circuit has analyzed whether the claims purport to

  cover the whole idea to which they are directed. If they do, they are more likely to be

  abstract. For example, in Visual Memory, the district court found the asserted claims

  ineligible at Alice step one because “the claims were directed to the abstract idea of

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  categorical data storage, which humans have practiced for many years.” Visual

  Memory, 867 F.3d at 1257. But the Federal Circuit reversed, finding that “[n]one of

  the claims recite all types and all forms of categorical storage.” Id. at 1259. Similarly,

  in Enfish, the district court found the claims abstract because they were directed to

  “the concept of organizing information using tabular formats,” but the Federal Circuit

  disagreed, finding that “the claims are not simply directed to any form of storing

  tabular data, but instead are specifically directed to a self-referential table for a

  computer database.” Enfish, 822 F.3d at 1337 (emphasis added).

        Even if you accept Google’s characterization of the idea that the claims are

  directed to—“parsing and encrypting stored data”—Visual Memory and Enfish show

  that the claims are not directed to an abstract idea. The patents plainly do not claim

  every method of parsing data, every method of encrypting data, or every method of

  both parsing and encrypting stored data. With respect to claim 1 of the ’609 patent,

  for example, the claimed method requires parsing data into chunks, encrypting those

  chunks with different encryption keys, further encrypting the chunks with another

  key, and storing each chunk with data indicative of a key on a storage device. This

  sequence of steps excludes many methods of “parsing and encrypting stored data.”

  For example, parsing data into chunks, encrypting those chunks with a single key,

  and then storing those chunks on one or more storage devices does not appear to be

  covered by the claims. Parsing data into chunks, encrypting those chunks with

  number of different keys, storing the chunks in one place, and storing the data

  indicative of the keys in another place does not appear to be covered by the claims.



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  One can easily imagine other ways to parse and encrypt stored data that are outside

  the bounds of the claims.

        The asserted claims of the other asserted patents are even further removed

  from claiming “all types and all forms” of “parsing and encrypting stored data.” Visual

  Memory, 867 F.3d at 1259. Whereas claim 1 of the ’609 patent is merely permissive

  of multiple storage devices, the ’854, ’116, and ’140 patents all appear to require the

  chunks of data (or, in the case of the ’140 patent, “shares” of data) to be stored on

  more than one storage device. ’854 patent, claim 1 (“a plurality of different storage

  devices”); ’116 patent, claim 1 (same); ’140 patent, claim 1 (“[a] plurality of physical

  storage devices”). Thus, any method of “parsing and encrypting stored data” that only

  uses one storage device would appear to be outside the scope of the asserted claims of

  these patents. Claim 1 of the ’140 patent includes additional limitations featuring a

  “virtual disk comprising a directory mapped to the plurality of physical storage

  devices such that physical locations of the shares are hidden from the client device.”

  ’140 patent, claim 1. Thus, any method of “parsing and encrypting stored data” that

  does not utilize the claimed virtual disk is outside the scope of the claim.

        Because the asserted claims do not purport to claim “all types and all forms”

  of “parsing and encrypting stored data,” Visual Memory and Enfish support the

  proposition that the asserted claims are not directed to that abstract idea.

        The panels in Visual Memory and Enfish also looked to whether the

  specifications of the asserted patents described any advantages of the claimed

  invention over the prior art. See, e.g., Enfish, 822 F.3d at 1337; Visual Memory, 867



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  F.3d at 1259. Here, the specifications of the asserted patents are, to put it mildly,

  difficult to navigate. But, at least with respect to the ’609 patent, SFI identifies

  several portions of the specification that describe purported advantages of the

  claimed invention over the prior art. For example, the specification describes the state

  of the art and notes that “the foregoing typical public-key cryptographic systems are

  still highly reliant on the user for security” which means that “the key or keys . . .

  [are] susceptible to compromise.” ’609 patent at 1:60–2:3. The invention purports to

  solve this problem by “provid[ing] cryptographic keys and authentication data in an

  environment where they are not lost, stolen, or compromised, thereby advantageously

  avoiding a need to continually reissue and manage new keys and authentication

  data.” Id. at 3:21–25. Given that the ’854 patent shares the same specification and

  claim 1 of the ’854 patent is substantially similar to claim 1 of the ’609 patent, these

  claimed advantages apply to both patents.

        The specification of the ’609 patent also describes the advantages of splitting

  the chunks of parsed, encrypted data onto different storage devices:

        There are major advantages provided by the data security methods and
        computer systems of the present invention over traditional encryption
        methods. One advantage is the security gained from moving shares of
        the data to different locations on one or more data depositories or
        storage devices, that may be in different logical, physical or geographical
        locations. When the shares of data are split physically and under the
        control of different personnel, for example, the possibility of
        compromising the data is greatly reduced.

  ’609 patent at 61:33–42. This process of splitting the chunks of data onto more than

  one storage device is within the scope of claim 1 of the ’609 patent (“at least one

  storage device”) and claim 1 of the ’854 patent (“a plurality of different storage

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  devices”), which shares the same specification. Thus, this claimed advantage applies

  to both patents.

        SFI’s brief does not identify any purported advantages of the claimed invention

  that are described in the specifications of the ’116 and ’140 patents. However, the

  specifications of these patents reveal essentially the same advantages noted above

  with respect to the ’609 and ’854 patents. See, e.g., ’116 patent at 1:54–2:7 (describing

  the problems with prior art approaches), 3:15–22 (describing the advantage of

  “provid[ing] cryptographic keys and authentication data in an environment where

  they are not lost, stolen, or compromised”); 3:28–38 (describing the advantage of

  storing the split data and keys in “multiple depositories”). Thus, as in Visual Memory

  and Enfish, the specifications of the asserted patents describe purported advantages

  of the claimed invention.

        Google also argues that the claims are drafted “in highly generic terms” that

  focus on an “’abstract end-result’” rather than “‘a specific means or method for

  improving technology.’” ECF No. 38 at 15 (quoting RecogniCorp, LLC v. Nintendo Co.,

  Ltd., 855 F.3d 1322, 1326 (Fed. Cir. 2017)). Further, Google submits that the claims

  provide “no details explaining how to implement the claimed software functions.” Id.

  at 15–16 (emphasis in original). In support, Google cites Universal Secure Registry,

  asserting that while the patents in that case “sound[ed] in technology,” the

  “individual steps of the limitations, including encryption, were conventional and did

  not disclose specific means of accomplishing any of the steps.” Id. at 18.




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        The claims that were before the Federal Circuit in Universal Secure Registry

  differ significantly from the claims here. The portion of that case Google cites dealt

  with a claim that was directed to the abstract idea of “multi-factor authentication of

  a user’s identity using two devices to enable a transaction.” Universal Secure Registry,

  908 F.3d at 1354. The court rejected the patentee’s argument that “the claims cover

  an innovative technological solution to address problems specific to prior

  authentication systems” because, as the court found, “the claims do not include

  sufficient specificity.” Id. Specifically, the court found that “[t]here is no description

  of a specific technical solution by which the biometric information is generated, or by

  which the authentication information is transmitted.” Id. at 1355. In other words, the

  patents in Universal Secure Registry failed to explain how the invention accomplished

  what was purportedly improved about the claimed invention.

        Google maintains that the asserted claims are like those in Universal Secure

  Registry because the specification notes that “‘any encryption process,’” “‘any suitable

  parsing and splitting algorithm,’” and “any type of data storage and communications”

  on “‘almost any computing device’” can be used to meet the claims. ECF No. 38 at 16–

  17 (quoting ’140 patent at 53:6-9, 6:41-45, 10:8-36) (emphasis removed). Google’s

  argument is beside the point. The “[purportedly] innovative technological solution” of

  these claims is rooted in the particular sequence of parsing, encrypting, and storing

  steps they describe, not in any benefits that might flow from the particular method

  that is used to accomplish each step. Thus, the asserted claims are unlike those in

  Universal Secure Registry because the claims here explain how they implement the



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  claimed “innovative technological solution.” Universal Secure Registry, 908 F.3d at

  1354.

          Google also cites a litany of cases, largely from other district courts, to show

  that “data encryption (and decryption) is an abstract concept” and that “[g]eneric data

  handling . . . is also routinely found to be an abstract idea.” ECF No. 38 at 17–21.

  Google’s arguments violate the Federal Circuit’s instruction not to characterize the

  claims at “a high level of abstraction” that is “untethered from the claim language.”

  Enfish, 822 F.3d at 1337. The claims “require[] more,” TecSec, 978 F.3d at 1295, than

  mere “data encryption” and “[g]eneric data handling”—the claims require, e.g., the

  generation of “data chunks,” the encryption of each “data chunk” with a “distinct”

  encryption key, a “cryptographic operation” with a first key that further secures the

  data chunks, and the storage of the data chunks with “data indicative” of the distinct

  encryption keys. ’609 patent, claim 1. “[D]isregard[ing] those express claim elements”

  would be error because those elements form “‘the focus of the claimed advance over

  the prior art.’” See TecSec, 978 F.3d at 1295 (quoting Solutran, Inc. v. Elavon, Inc.,

  931 F.3d 1161, 1167–68 (Fed. Cir. 2019)).

          Both Google and SFI filed notices of supplemental authority directing the

  Court to recent cases from this District that have dealt with questions of abstractness

  under Alice: Geoscope Techs. Pte. Ltd v. Google LLC, No. 1:22-cv-1331, 2023 WL

  6120603 (E.D. Va. Sept. 18, 2023) and Daedalus Blue, LLC v. Microstrategy Inc., No.

  2:20-cv-551, 2023 WL 6221774 (E.D. Va. Sept. 25, 2023). 19 In Geoscope, the Honorable



  19 The court’s ruling in Geoscope is currently on appeal.


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  Michael S. Nachmanoff held that the asserted patents were invalid under Alice

  because they were directed to “the abstract idea of determining location based on

  data,” Geoscope, 2023 WL 6120603 at *5, and “the abstract idea of determining an

  unknown location by comparing information about known locations organized in a

  database against measurements from a mobile device,” id. at *10. In Daedalus Blue,

  the Honorable Roderick C. Young held that the asserted patents were not invalid

  under Alice, finding at step one that the claims disclosed “unique data structures and

  techniques aimed at solving issues with existing computing systems” and were thus,

  under Enfish and other cases, directed to specific improvements in the way computers

  operate. Daedalus Blue, 2023 WL 6221774, at *17–21.

        Geoscope does not persuade the Court that the asserted claims here are

  directed to an abstract idea. One of the asserted claims in Geoscope reads as follows:

                A method for determining a location of a mobile station,
               comprising:

               providing a database of previously-gathered calibration
               data for a predetermined region in a wireless network;

               collecting observed network measurement data, the
               observed network measurement data collected by the
               mobile station and transmitted to the network or collected
               by the network;

               modifying said observed network measurement data; and

               comparing said modified network measurement data with
               said database of calibration data to thereby determine the
               location of the mobile station.

  Geoscope, 2023 WL 6120603 at *4 (quoting ’494 patent, claim 1). This claim plainly

  differs substantially from the claims before this Court. Most significantly, this claim

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  is “both broad and generic”—it essentially captures the entire idea of “determining

  location based on data,” which “has been performed by humans throughout history.”

  Id. at *5–6.

        As the Court explained above, the asserted claims here do not capture the

  entire idea of “parsing and encrypting stored data,” as Google insists. Rather, with a

  series of specific sequenced steps, these claims purport to solve a problem that is

  unique to computers with a solution that only makes sense in the context of

  computers. The Court’s finding at step one is thus consistent with Daedalus Blue.

  See, e.g., Daedalus Blue, 2023 WL 6221774, at *20 (finding that the claims and

  specification of one of the asserted patents identified non-abstract “improvements to

  computer functionality itself”) (quoting Enfish, 822 F.3d at 1336) (alteration

  accepted).

        For the foregoing reasons, at Alice step one, the Court finds that the claims of

  the asserted patents are not drawn to an abstract idea. Rather, the asserted claims

  are directed to a non-abstract improvement in the function of computers: an improved

  method for securely storing parsed and encrypted data on at least one storage device.

                      b.     Alice Step Two

        Even if the Court had found at Alice step one that the asserted claims are

  directed to an abstract idea, Google’s motion would fail at Alice step two. At this step,

  the Court must ask whether the claims contain an “inventive concept” that

  transforms the abstract idea into a patent-eligible invention. Bascom Glob. Internet

  Servs., Inc. v. AT&T Mobility LLC, 827 F.3d 1341, 1349 (Fed. Cir. 2016). “[T]he search

  for an ‘inventive concept’ can also be thought of as a search for a ‘limiting concept’—
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  something that restricts the scope of the claims, ensuring that the patent does not

  cover the entirety of the abstract idea.” Netflix, Inc. v. Rovi Corp., 114 F. Supp. 3d

  927, 937 (N.D. Cal. 2015), aff’d, 670 F. App’x 704 (Fed. Cir. 2016).

         Because the instant motion is a motion to dismiss, there are several statements

  in the amended complaint that are relevant to Alice step two that the Court must

  accept as true. For example, the amended complaint asserts that the basic steps

  described by the asserted claims (i.e., “split[ting] the data into multiple portions (e.g.,

  generating a plurality of data chunks based on the data set), encrypting the parsed

  data (data chunks) using distinct encryption keys, encrypting the distinct encryption

  keys using an external key, and storing the encrypted, parsed data with data

  indicative of at least one of the distinct encryption keys on different storage devices”)

  “were unconventional and non-generic, particularly in the context of large scale,

  server-based data storage.” ECF No. 75-1 ¶ 22.

         The amended complaint also states that “[t]he idea of securing a data set using

  encryption after the data set has been split into multiple portions or chunks, as is

  described in the Asserted Patents, would have been regarded as wholly

  unconventional at the time of the inventions.” Id. ¶ 23. It explains that this is so

  because “performing the encryption/decryption operations on the individual portions

  that were formed when the original data set was split requires substantial additional

  processing over what would have been needed to simply encrypt the original single

  data set.” Id.




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        The amended complaint avers that “prior to the Asserted Patents it was

  unconventional to store ‘data indicative of at least one of the distinct encryption keys’

  with the ‘plurality of data chunks.’” Id. ¶ 25. This “would have been regarded as

  creating an insecurity by co-locating encrypted data with information which might

  facilitate decrypting such data.” Id.

        The    amended complaint          further asserts that    it   would have     been

  “unconventional to distribute the split data and the data indicative of the encryption

  keys across multiple different storage devices.” Id. ¶ 26. It explains that “[t]his would

  have required developing an additional mechanism to locate the split data portions

  across the different storage devices, and then reassembling the different storage

  devices (after decryption) in order to reconstitute the original data set.” Id.

        In each case, the amended complaint pleads facts and explains why certain

  features of the asserted claims would have been viewed as unconventional. In

  addition, each of the alleged inventive features is present in one or more claims. Cf.,

  e.g., Ericsson, 955 F.3d at 1328 (finding a patent ineligible at Alice step two and

  noting that that “this allegedly novel aspect of the invention is wholly missing from”

  the asserted claims). Because SFI has made “plausible and specific factual allegations

  that aspects of the claims are inventive,” Cellspin, 927 F.3d at 1317, the Court cannot

  conclude at this stage “that the claimed elements were well-understood, routine, or

  conventional,” Aatrix Software, Inc. v. Green Shades Software, Inc., 882 F.3d 1121,

  1129 (Fed. Cir. 2018); Cellspin, 927 F.3d at 1317 (“[P]lausible and specific factual




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      allegations [in a complaint] that aspects of the claims are inventive are sufficient [to

      defeat a motion to dismiss.]”).

            As a result, even if the Court had found at Alice step one that the claims are

      directed to an abstract idea, Google’s motion must fail at Alice step two.

IV.         CONCLUSION

            For the foregoing reasons, Plaintiff Security First Innovations, LLC’s Motion

      for Leave to Amend its Complaint (ECF No. 73) is GRANTED. SFI may proceed with

      its claim of willful infringement as to the ’140 patent but not as to the remaining

      asserted patents. 20

            The Clerk is DIRECTED to docket ECF No. 75-1 as an amended complaint.

            Google LLC’s Motion to Dismiss the Complaint (ECF No. 37) is DENIED.

            Google LLC is DIRECTED to respond to the amended complaint within the

      timeframe prescribed by Fed. R. Civ. P. 12(a)(4).

            The Clerk is FURTHER DIRECTED to forward a copy of this Memorandum

      Opinion and Order to all counsel of record.

            IT IS SO ORDERED.

                                                                        /s/
                                                     Jamar K. Walker
                                                     United States District Judge

      Norfolk, Virginia
      November 15, 2023




      20 See, e.g., Diversey, Inc. v. Pops Techs., LLC, No. 1:18-cv-04210, 2019 WL 11003292,

      at *1 (N.D. Ga. Nov. 13, 2019) (granting motion for leave to amend a complaint to add
      claims for induced and contributory infringement as to one patent but not another).
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